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UNITED STATES DISTRICT C()URT
NORTHERN DISTRIC'I` OF NEW YORK

 

DELAWARE NGRTH COMPANIES TRAVEL
HGSPITALITY SERVICES, INC. ika CA ONE
SERVICES, INC.

Hancock International Airport

North Syracuse, NY 13212,

Plain"tifr,
-against-
UNITE HERE!
275 7th Avenue
New York, NY 10001-6708,
Defendant.

 

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ANSWER AND COUNTER-
CLAIMS FOR JUDGMENT
ENFORCING THE
ARBITRATION AWARD AND
FOR ATTORNEYS FEES

Civil Action No. 5 :07-CV-00626
DNH/DEP

Defendant, UNITE HERE! (“Union”) by its attorneys, Blitman & King LLP, answers the

Complaint as follows:

l. ADMITS each and every allegation contained in paragraph “l”.

2. ADMITS each and every allegation contained in paragraph “2”.

3. ADMITS each and every allegation contained in paragraph “3”.

4. ADMITS each and every allegation contained in paragraph “4”.

5. DENIES each and every allegation contained in paragraph “5”.

6. ADMITS such part of paragraph “6” that alleges CA One and Union are parties to a

collective bargaining agreement covering bargaining unit members employed at CA One’s retail

business (a pub) at Hancock Airport and affirmatively states that the airport is located in Syracuse, NeW

York; and ADMITS such part of paragraph “6” that alleges the collective bargaining agreement

(_“Agreement”) at issue covers the period from November l, 2003 through October 31, 2008 and

 

 

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respectfully refers the Court to the Agreement in its entirety as the best evidence of its content and
meaning

7. ADMITS that the agreement allows employees to be dismissed for just cause and
includes language from Article V, and respectfully refers the Court to the Agreement in its entirety as
the best evidence of its content and meaning

8. ADMITS that the agreement includes quoted language from Article V, respectfully refers
the Court to the Agreement in its entirety as the best evidence of its content and meaning

9. ADMITS, upon information and belief, each and every allegation contained in paragraph
“9”.

10. ADMITS such part of paragraph “lO” that alleges the work rules for “alcoholic
beverages” includes the quoted language, affirmatively states that the remaining allegations call for a
legal conclusion, respectfully refers the Court to the work rules in its entirety as the best evidence of its
content and meaning, and affirmatively states that the facts pertinent to the dispute that is the subject of
the arbitration are contained in the Decision of Arbitrator Eric W. Lawson, whose factual findings are
not reviewable by this Court and denies all other allegations

ll. ADMITS such part of paragraph “l l” that alleges on l\/lay 25, 2006 grievant Charles
Miller, an employee at CA One’s Hancock Airport served alcohol to a underage female, DENIES each
and every other allegation, affirmatively states that the facts pertinent to the dispute that is the subject of
the arbitration are contained in the Decision of Arbitrator Eric W. Lawson, whose factual findings are
not reviewable by this Court, and respectfully refers the Court to the Arbitrator’s Decision in its entirety

as the best evidence of its content and meaning

 

 

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12. ADMITS such part of paragraph “12” that alleges grievant l\/[iller was discharged from
his employment with CA One, the Union filed a grievance on his behalf, a copy of which is attached to
the Complaint as Exhibit 3, and the parties pursued arbitration, DENIES grievant was terminated on
June 9, 2006, and affirmatively states that the facts pertinent to the dispute that is the subject of the
arbitration are contained in the Decision of Arbitrator Eric W. Lawson, whose factual findings are not
reviewable by this Court.

l3. ADMITS such part of paragraph “13” that alleges the parties participated in evidentiary
hearing on the grievance before Arbitrator Eric W. Lawson on March 8, 2007, and affirmatively states
that the hearing was held in Syracuse, New York and the facts pertinent to the dispute that is the subject
of the arbitration are contained in the Decision of Arbitrator Eric W. Lawson, whose factual findings are
not reviewable by this Court.

l4. ADMITS each and every allegation contained in paragraph “l4”.

15. ADMITS, upon information and belief, each and every allegation contained in paragraph
“15”.

l6. ADMITS such part of paragraph “l 6” that alleges Arbitrator Eric W. Lawson made
factual findings regarding the giievance, but DENIES each and every other allegation contained in “l6”,
affirmatively states that the facts pertinent to the dispute that is the subject of the arbitration are
contained in the Decision of Arbitrator Eric W. Lawson, whose factual findings are not reviewable by
this Court, and respectfully refers the Court to the Arbitrator’s Decision in its entirety as the best
evidence of its content and meaning

17. ADMITS such part of paragraph “l7” that alleges Arbitrator Eric W. Lawson concluded

that CA One “lacked just cause to terminate” the grievant, he reduced the grievant’s discharge to a

 

 

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suspension without back pay, but DENIES each and every other allegation contained in paragraph “l7”,
affirmatively states that the facts pertinent to the dispute that is the subject of the arbitration are
contained in the Decision of Arbitrator Eric W. Lawson, whose factual findings are not reviewable by
this Court, and respectfully refers the Court to the Arbitrator’s Decision in its entirety as the best
evidence of its content and meaning

18. DENIES each and every allegation contained in the Complaint not heretofore

specifically admitted, denied, or otherwise controverted

FIRST AFFIRMATIVE DEFENSE

19. The Complaint fails to state a cause of action upon which relief can be granted

SEC()ND AFFIRMATIVE DEFENSE
20. The proceeding was not properly commenced within the applicable statute of limitations

21. The proceeding is barred by the applicable statute of limitations

FIRST COUNTERCLAIM

22. This counterclaim seeks judgment confirming the award of Arbitrator Eric W. Lawson
dated l\/larch 24, 2007. A copy of the Arbitrator’s decision and award is attached to the Complaint as
Exhibit “4”.

23. Effective November l, 2003, the Union and the Plaintiff entered into the Agreement,
setting forth the terms and conditions of employment of a unit of employees whose collective bargaining
representative is the Union. A copy of that Agreement is attached to the Complaint as Exhibit “l”.

24. The Agreement, at Articles VI and VII, provides a mandatory grievance and arbitration

procedure governing the resolution of disputes under the Agreement. The Agreement specifically

 

 

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provides that an arbitration rendered pursuant to that procedure is “final and binding upon the Company,
the Union and the employees.” §§§ EXhibit l attached to Complaint at p. 12-13.

25. On or about June 7, 2006, the Union requested a meeting with Plaintiff to discuss its
grievance alleging the discharge of Grievant Charles Miller violated the Agreement.

26. Pursuant to the Agreement, an arbitration hearing was held before Arbitrator Eric W.
Lawson on March 8, 2007 in Syracuse, New York. Both parties appeared at the hearing, were
represented by counsel, and had the opportunity to present witnesses and evidence in support of their
respective positions

27. The parties agreed to submit for resolution by the Arbitrator the Union’s claim that the
Plaintiff lacked just cause to terminate grievant

28. By award dated March 24, 2007 (“Award”), the Arbitrator determined the Plaintiff
violated the Agreement because it lacked just cause to terminate Grievant Miller.

29. The award of the Arbitrator is final and binding upon the Plaintiff

30. Upon information and belief, the Plaintiff received the decision and award on March 27,
2007.

31. The Plaintiff has failed and refused and continues to fail and refuse to comply with the
Arbitrator’s decision and award.

SECOND COUNTERCLAIM

32. Defendant restates and realleges each and every allegation contained in paragraphs “l ”

through “3 l” as if fully set forth herein.

33. The Plaintiff s refusal to comply with the award is unjustifiable and baseless

 

 

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34. In addition, the Plaintiff’ s action to vacate the Arbitrator’s award is frivolous and without

legal or factual basis

35. As a result, the Union has incurred substantial attorneys fees in this action and will
continue to incur attorneys fees in the future.

WHEREFORE, the Union demands judgment against the Plaintiff granting the following r'elief:
dismissing the Complaint; enforcing the award of Arbitrator Eric W. Lawson; ordering the Plaintiff to
comply with the award; awarding back pay to grievant from date of receipt of arbitration award by
plaintiff until reinstatement by plaintiff; granting attorneys fees and costs to the Union; and granting

such other and further relief as the Court deems appropriate

BLITMAN & KING LLP

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Dated: July l6, 2007 By: " %WLM

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jas\sam\UNITE\Pleadings\Answer

 

